
RUCKER, J.,
concurring in part and dissenting in part.
I concur with that portion of the majority opinion reversing the trial court's grant of summary judgment in favor of the local fraternity, as well as affirming the trial court's grant of summary judgment in favor of the national fraternity. However, I disagree with my colleagues in affirming the trial court's grant of summary judgment in favor of Wabash College.
The majority is certainly correct in observing: "[IJn the absence of statute, covenant, fraud or concealment, a landlord who gives a tenant full control and possession of the leased property will not be liable for personal injuries sustained by the tenant or other persons lawfully upon the leased property." Op. at 515-16 (alteration in original) (emphasis added) (quoting Olds v. Noel, 857 N.E.2d 1041, 1044 (Ind.Ct.App.2006) (quotation omitted)). The problem in this case however is that Wabash, as landlord and movant for summary judgment, presented no Rule 56 materials to the trial court demonstrating that it gave "full control and possession" of the leased property to its tenant-the local fraternity.
The majority is of the view that because Yost conceded that Wabash leased the fraternity house to the local fraternity, Wabash established that "the local fraternity as tenant thus had the exelusive right to possess and control the premises." Op. at 516. But the mere fact that the local fra*525ternity leased the premises does not ipso facto establish that Wabash gave the local fraternity "full control and possession of the leased property." The question is whether the terms of the lease reflect such an arrangement. See, eg., Pitcock v. Worldwide Recycling, Inc., 582 N.E.2d 412, 414 (Ind.Ct.App.1991) (declaring Landlords not liable for injuries sustained by the invitees where "[the one year written lease agreement ... indicates, among other things, that Landlords surrendered to Tenant complete control and possession of the entire premises"). Here as the movant for summary judgment Wabash did not submit the lease agreement as a part of its evidentiary materials So we have no way of knowing the terms and conditions of the lease. Indeed it may or may not even speak to this point. Just as important, Wabash did not tender an affidavit declaring that it gave the local fraternity "full control and possession of the premises." Assuming no contrary evi-denee this simple submission would have put the matter to rest. ' As it now stands there was simply nothing before the trial court and thus nothing before this Court on this critical issue.
The party seeking summary judgment has the initial burden of proving the absence of a genuine issue of material fact as to an outcome-determinative issue. Jarboe v. Landmark Cmty. Newspapers of Ind., Inc., 644 N.E.2d 118, 123 (Ind.1994). Only then must the non-movant come forward with contrary evidence demonstrating the existence of genuine factual issues that should be resolved at trial. Id. It appears plain to me that Wabash as the moving party failed to carry its initial burden of demonstrating that it gave the local fraternity full control and possession of the leased fraternity house. Simply declaring the existence of a lease is not enough. Thus, Yost had no duty to come forward with contrary evidence.
It bears repeating that as a landowner Wabash owed Yost-an invitee-"a duty to exercise reasonable care for his protection" while on Wabash's premises. Pfenning v. Lineman, 947 N.E.2d 392, 406 (Ind.2011) (quotation omitted). And this duty includes "tak[ing] reasonable precautions to prevent foreseeable criminal acts against invitees." L.W. v. W. Golf Ass'n, 712 N.E.2d 983, 985 (Ind.1999). A landowner is relieved of this duty where it "gives a tenant full control and possession of the leased property[.]" Olds, 857 N.E.2d at 1044. Because Wabash in my view has not carried its burden of proof on this outcome-determinative issue, the trial court's grant of summary judgment cannot be sustained on grounds that Wabash owed Yost no duty. On this point I respectfully dissent and would reverse the judgment of the trial court. In all other respects I concur with the majority opinion.
